Case 2:03-cr-20485-SH|\/| Document 320 Filed 08/22/05 Page 1 of 3 Page|D 391

HUHJBY

 

rN Tmz: uNrTED sTATEs DrsTch'r coURT -~- D'c»
FoR THE: wEsTERN DrsTRIcT oF TENNESSEE
wEsTERN DrvrsroN 05 AUG 22 PH 101 35
G-l=:_Tl'iOMASM. GOU.D
W:¢w/o€ T
UNITED STATES oF AMERICA, J' ‘*"‘FHFS

Plaintiff,
vs. CR. NO. 03-20485-Ma

DEMOND ROBINSON,
MARTIN COX,

'-._r\_r\../V~../v`_,\/\_.z~.._/

Defendants.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on July 22, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning September 6, 2005 at 9:30 a.m., with a
report date of Friday, August 26, 2005 at 2:00 p.m.

The period from July 22, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 3l6l(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

wL

Q.
IT IS SO ORDERED this day of August, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This doc'r.mem emered on the dockets et in cpmpliance
with me 55 and/m 32er sach on ' .;G=l

520

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 320 in
case 2:03-CR-20485 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

LaWrence W. Kern
KERN LAW FIRM

51 18 Park Avenue

Ste. 600

1\/1emphis7 TN 38117--571

M. lake Werner

LAW OFFICE OF M. JAKE WERNER
46 N. Third St.

Ste. 628

1\/1emphis7 TN 38103

Michael J. Stengel
STENGEL LAW FIRM
50 North Front Street

Ste. 850

1\/1emphis7 TN 38103--111

HoWard Brett Manis
BOROD & KRAMER
80 Monroe Ave.

Ste. G-1

1\/1emphis7 TN 38103

Autumn B. Chastain

MONROE & CHASTAIN, PLLC
80 Monroe Ave.

Ste. 650A

1\/1emphis7 TN 38103

Case 2:03-cr-20485-SH|\/| Document 320 Filed 08/22/05 Page 3 of 3 Page|D 393

Linda Kendall Garner

LAW OFFICE OF LINDA KENDALL GARNER
217 EXchange Ave.

1\/1emphis7 TN 38105

PDA

Federal Defender's Oftice
100 N. Main BIdg.7 Suite 410
1\/1emphis7 TN 38103

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

